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                         EXHIBIT 2




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From: Clay Taylor <clay.taylor@bondsellis.com>
Sent: Thursday, April 1, 2021 6:32 PM
To: Clubok, Andrew (DC) <Andrew.Clubok@lw.com>; jpomerantz@pszjlaw.com; martin.sosland@butlersnow.com;
jmorris@pszjlaw.com; Allen, Robert (CC) <Robert.Allen@lw.com>; zannable@haywardfirm.com
Cc: Michael Lynn <michael.lynn@bondsellis.com>; John Bonds <john@bondsellis.com>; Paul Farmer
<paul.farmer@bondsellis.com>
Subject: RE: 21-03020-sgj Complaint Filed Under Seal

Jeff and Andrew,

Thanks for the responses. We will proceed accordingly.

Clay

P.S.   While I don't love the substance of the responses, I am glad you at least appreciated the humor. Got to have
some fun amongst us at the appropriate times.

-----Original Message-----
From: Andrew.Clubok@lw.com <Andrew.Clubok@lw.com>
Sent: Thursday, April 1, 2021 5:28 PM
To: jpomerantz@pszjlaw.com; Clay Taylor <clay.taylor@bondsellis.com>; martin.sosland@butlersnow.com;
jmorris@pszjlaw.com; Robert.Allen@lw.com; zannable@haywardfirm.com
Cc: Michael Lynn <michael.lynn@bondsellis.com>; John Bonds <john@bondsellis.com>; Paul Farmer
<paul.farmer@bondsellis.com>
Subject: RE: 21-03020-sgj Complaint Filed Under Seal

Clay:

        We too will not provide documents filed under seal in this matter. (although, I must say, I appreciate the levity in
your request!)

Thanks

Andrew Clubok

LATHAM & WATKINS LLP
555 Eleventh Street, NW
Suite 1000
Washington, D.C. 20004-1304
Direct Dial: +1.202.637.3323
Fax: +1.202.637.2201

885 Third Avenue
New York, NY 10022-4834
Direct Dial: +1.212.906.1272
Email: andrew.clubok@lw.com
http://www.lw.com


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                                                                                                         UBS013
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-----Original Message-----
From: Jeff Pomerantz <jpomerantz@pszjlaw.com>
Sent: Thursday, April 1, 2021 6:25 PM
To: Clay Taylor <clay.taylor@bondsellis.com>; martin.sosland@butlersnow.com; John A. Morris <jmorris@pszjlaw.com>;
Allen, Robert (CC) <Robert.Allen@lw.com>; Zachery Annable <zannable@haywardfirm.com>; Clubok, Andrew (DC)
<Andrew.Clubok@lw.com>
Cc: Michael Lynn <michael.lynn@bondsellis.com>; John Bonds <john@bondsellis.com>; Paul Farmer
<paul.farmer@bondsellis.com>; Jeff Pomerantz <jpomerantz@pszjlaw.com>
Subject: Re: 21-03020-sgj Complaint Filed Under Seal

Clay –

Latham – and not PSZJ – is the appropriate party to respond to your request for a copy of the documents they filed
under seal.

As to the documents the Debtor filed under seal, we will not be providing you with a copy.

Best,
Jeff

From: Clay Taylor <clay.taylor@bondsellis.com>
Date: Thursday, April 1, 2021 at 8:12 AM
To: Martin Sosland <martin.sosland@butlersnow.com>, John Morris <jmorris@pszjlaw.com>, Jeffrey Pomerantz
<jpomerantz@pszjlaw.com>, "Robert.Allen@lw.com" <Robert.Allen@lw.com>, Zachery Annable
<zannable@haywardfirm.com>, "Andrew.Clubok@lw.com" <Andrew.Clubok@lw.com>
Cc: Michael Lynn <michael.lynn@bondsellis.com>, John Bonds <john@bondsellis.com>, Paul Farmer
<paul.farmer@bondsellis.com>
Subject: RE: 21-03020-sgj Complaint Filed Under Seal

Bueller, Bueller…*

*For those not familiar with the movie classic Ferris Buller’s Day Off, or the modern day meaning of the inquiry above, a
link is below to said movie clip. If, after viewing, the meaning is still not clear, please contact the undersigned and we
can discuss both the movie clip and the below request.
Ben Stein as Economic Teacher in "Ferris Bueller's Day Off" - Bing
video<https://www.bing.com/videos/search?q=bueller%2c+bueller&ru=%2fsearch%3fq%3dbueller%252C%2bbueller%2
6form%3dANSPH1%26refig%3d49141f69f7964e4e9363ec1a8f445519%26pc%3dU531&view=detail&mid=2953E45D8AD
DF23418412953E45D8ADDF2341841&rvsmid=9EAAAFF5727E25CCE3419EAAAFF5727E25CCE341&FORM=VDRVRV>

Clay

From: Clay Taylor
Sent: Wednesday, March 31, 2021 2:36 PM
To: 'martin.sosland@butlersnow.com' <martin.sosland@butlersnow.com>; John Morris - Pachulski Stang Ziehl & Jones
(jmorris@pszjlaw.com) <jmorris@pszjlaw.com>; Jeffrey N. Pomerantz - Pachulski Stang Ziehl & Jones
(jpomerantz@pszjlaw.com) <jpomerantz@pszjlaw.com>; 'Robert.Allen@lw.com' <Robert.Allen@lw.com>; Zachery
Annable <zannable@haywardfirm.com>; Andrew.Clubok@lw.com
Cc: Judge Lynn (michael.lynn@bondsellis.com) <michael.lynn@bondsellis.com>; John Bonds <john@bondsellis.com>;
Paul Farmer <paul.farmer@bondsellis.com>
Subject: FW: 21-03020-sgj Complaint Filed Under Seal


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Marty, Jeff, John M., Andrew and Zach,

I was not 100% certain to whom to address this e-mail. I attempted to piece together the distribution list via some
guesses as to who is handling what. If I missed the people at your shops who should get this, please loop them in.

Yesterday, we got a litigation hold letter from both the plaintiff and defendant in the action that was filed below (we
also got one to Sentinel et al., who we are not representing; but we did send that hold letter on to our client for
appropriate distribution and handling).

We presume, but cannot be certain, that perhaps those litigation hold letters were somehow related to this suit. And
we had seen the Motion to File Under Seal regarding this complaint, and that gave a tiny bit of color to what kind of
action this suit may be. All that being said, it appears you think our client is involved, in some way, in whatever kind of
suit this may be. We would like to see the suit also to make our own determination as to what, if any, of his rights may
be impacted.

May I safely presume that we will be provided a copy? We will agree to be bound by the Protective Order that I believe
is in place in the main bankruptcy case. Please advise.

Thanks in advance for your consideration of this request.

Clay M. Taylor
Bonds Ellis Eppich Schafer Jones LLP
420 Throckmorton St. | Suite 1000 | Fort Worth, Texas 76102
cell 214.663.5988 | office 817.779.4300 | fax 817.405.6902
Clay.Taylor@bondsellis.com<mailto:Clay.Taylor@bondsellis.com> | My Profile<https://www.bondsellis.com/our-
attorneys/clay-m-taylor>
The information contained in this e-mail message is intended only for the personal and confidential use of the
recipient(s) named above. This message may be an attorney-client communication and/or work product and as such is
privileged and confidential. If the reader of this message is not the intended recipient or an agent responsible for
delivering it to the intended recipient, you are hereby notified that you have received this document in error and that
any review, dissemination, distribution, or copying of this message is strictly prohibited. If you have received this
communication in error, please notify us immediately by e-mail, and delete the original message. IRS Circular 230
Required Notice--IRS regulations require that we inform you as follows: Any U.S. federal tax advice contained in this
communication (including any attachments) is not intended to be used and cannot be used, for the purpose of (i)
avoiding penalties under the Internal Revenue Code or (ii) promoting, marketing or recommending to another party any
transaction or tax-related matter.



From: BKECF_LiveDB@txnb.uscourts.gov<mailto:BKECF_LiveDB@txnb.uscourts.gov>
<BKECF_LiveDB@txnb.uscourts.gov<mailto:BKECF_LiveDB@txnb.uscourts.gov>>
Sent: Wednesday, March 31, 2021 1:53 PM
To: Courtmail@txnb.uscourts.gov<mailto:Courtmail@txnb.uscourts.gov>
Subject: 21-03020-sgj Complaint


***NOTE TO PUBLIC ACCESS USERS*** Judicial Conference of the United States policy permits attorneys of record and
parties in a case (including pro se litigants) to receive one free electronic copy of all documents filed electronically, if
receipt is required by law or directed by the filer. PACER access fees apply to all other users. To avoid later charges,
download a copy of each document during this first viewing. However, if the referenced document is a transcript, the
free copy and 30-page limit do not apply.


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U.S. Bankruptcy Court

Northern District of Texas
Notice of Electronic Filing

The following transaction was received from Martin A. Sosland entered on 3/31/2021 at 1:52 PM CDT and filed on
3/31/2021
Case Name:

UBS Securities LLC et al v. Highland Capital Management, L.P.

Case Number:

21-03020-sgj<https://ecf.txnb.uscourts.gov/cgi-bin/DktRpt.pl?492175>

Document Number:

1<https://ecf.txnb.uscourts.gov/doc1/176045377492?pdf_header=&magic_num=90455051&de_seq_num=3&caseid=4
92175>


Case Name:

Highland Capital Management, L.P.

Case Number:

19-34054-sgj11<https://ecf.txnb.uscourts.gov/cgi-bin/DktRpt.pl?481201>

Document Number:

2142<https://ecf.txnb.uscourts.gov/doc1/176045377493?pdf_header=&magic_num=71047267&de_seq_num=7739&ca
seid=481201>


Docket Text:
Adversary case 21-03020. Complaint by UBS Securities LLC, UBS AG London Branch against Highland Capital
Management, L.P.. Fee Amount $350. Nature(s) of suit: 72 (Injunctive relief - other). (Sosland, Martin)

The following document(s) are associated with this transaction:
Document description:Main Document
Original filename:(Revised) Adversary Proceeding Civil Cover Sheet.pdf
Electronic document Stamp:
[STAMP bkecfStamp_ID=1017686615 [Date=3/31/2021] [FileNumber=46614983-
0] [366d86c4066af363736e009b0aae314f831025e5851162f8b7184df98b0b5ffb29
150ebe0a3fa50112f8bc0cfde8f362244dd46f6453c35144980c7cea4ffd1b]]
Document description:Main Document
Original filename:(Revised) Adversary Proceeding Civil Cover Sheet.pdf
Electronic document Stamp:
[STAMP bkecfStamp_ID=1017686615 [Date=3/31/2021] [FileNumber=46614984-
0] [669b0e9484b01224bd5654032c80c16fa4942b8c80ef3ba4a22dc4ac4c1b6747b9
1c85effe936418fbf1d7d25836fc51b750084fb533b8deff8745d3235fd9c9]]

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21-03020-sgj Notice will be electronically mailed to:

Martin A. Sosland on behalf of Plaintiff UBS AG London Branch
martin.sosland@butlersnow.com<mailto:martin.sosland@butlersnow.com>,
ecf.notices@butlersnow.com,velvet.johnson@butlersnow.com<mailto:ecf.notices@butlersnow.com,velvet.johnson@b
utlersnow.com>

Martin A. Sosland on behalf of Plaintiff UBS Securities LLC
martin.sosland@butlersnow.com<mailto:martin.sosland@butlersnow.com>,
ecf.notices@butlersnow.com,velvet.johnson@butlersnow.com<mailto:ecf.notices@butlersnow.com,velvet.johnson@b
utlersnow.com>

21-03020-sgj Notice will not be electronically mailed to:

Highland Capital Management, L.P.
,




19-34054-sgj11 Notice will be electronically mailed to:

David G. Adams on behalf of Creditor United States (IRS)
david.g.adams@usdoj.gov<mailto:david.g.adams@usdoj.gov>,
southwestern.taxcivil@usdoj.gov;dolores.c.lopez@usdoj.gov<mailto:southwestern.taxcivil@usdoj.gov;dolores.c.lopez@
usdoj.gov>

Amy K. Anderson on behalf of Creditor Issuer Group
aanderson@joneswalker.com<mailto:aanderson@joneswalker.com>, lfields@joneswalker.com;amy-anderson-
9331@ecf.pacerpro.com<mailto:lfields@joneswalker.com;amy-anderson-9331@ecf.pacerpro.com>

Zachery Z. Annable on behalf of Debtor Highland Capital Management, L.P.
zannable@haywardfirm.com<mailto:zannable@haywardfirm.com>

Zachery Z. Annable on behalf of Other Professional Hayward & Associates PLLC
zannable@haywardfirm.com<mailto:zannable@haywardfirm.com>

Zachery Z. Annable on behalf of Plaintiff Highland Capital Management, L.P.
zannable@haywardfirm.com<mailto:zannable@haywardfirm.com>

Bryan C. Assink on behalf of Creditor The Dugaboy Investment Trust
bryan.assink@bondsellis.com<mailto:bryan.assink@bondsellis.com>

Bryan C. Assink on behalf of Defendant James Dondero
bryan.assink@bondsellis.com<mailto:bryan.assink@bondsellis.com>

Bryan C. Assink on behalf of Defendant James D. Dondero
bryan.assink@bondsellis.com<mailto:bryan.assink@bondsellis.com>

Bryan C. Assink on behalf of Interested Party James Dondero

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bryan.assink@bondsellis.com<mailto:bryan.assink@bondsellis.com>

Asif Attarwala on behalf of Interested Party UBS AG London Branch
asif.attarwala@lw.com<mailto:asif.attarwala@lw.com>

Asif Attarwala on behalf of Interested Party UBS Securities LLC
asif.attarwala@lw.com<mailto:asif.attarwala@lw.com>

Joseph E. Bain on behalf of Creditor Issuer Group
JBain@joneswalker.com<mailto:JBain@joneswalker.com>, kvrana@joneswalker.com;joseph-bain-
8368@ecf.pacerpro.com;msalinas@joneswalker.com<mailto:kvrana@joneswalker.com;joseph-bain-
8368@ecf.pacerpro.com;msalinas@joneswalker.com>

Michael I. Baird on behalf of Creditor Pension Benefit Guaranty Corporation
baird.michael@pbgc.gov<mailto:baird.michael@pbgc.gov>, efile@pbgc.gov<mailto:efile@pbgc.gov>

Michael I. Baird on behalf of Interested Party Pension Benefit Guaranty Corporation
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Sean M. Beach on behalf of Creditor Committee Official Committee of Unsecured Creditors
bankfilings@ycst.com<mailto:bankfilings@ycst.com>, sbeach@ycst.com<mailto:sbeach@ycst.com>

Paul Richard Bessette on behalf of Interested Party Highland CLO Funding, Ltd.
pbessette@KSLAW.com<mailto:pbessette@KSLAW.com>,
ccisneros@kslaw.com;jworsham@kslaw.com;kbryan@kslaw.com;jcarvalho@kslaw.com;rmatsumura@kslaw.com<mailt
o:ccisneros@kslaw.com;jworsham@kslaw.com;kbryan@kslaw.com;jcarvalho@kslaw.com;rmatsumura@kslaw.com>

John Y. Bonds, III on behalf of Defendant James D. Dondero
john@bondsellis.com<mailto:john@bondsellis.com>

John Y. Bonds, III on behalf of Interested Party James Dondero
john@bondsellis.com<mailto:john@bondsellis.com>

Larry R. Boyd on behalf of Creditor COLLIN COUNTY TAX ASSESSOR/COLLECTOR
lboyd@abernathy-law.com<mailto:lboyd@abernathy-law.com>, ljameson@abernathy-
law.com<mailto:ljameson@abernathy-law.com>

Jason S. Brookner on behalf of Creditor Gray Reed & McGraw LLP
jbrookner@grayreed.com<mailto:jbrookner@grayreed.com>,
lwebb@grayreed.com;acarson@grayreed.com;cpatterson@grayreed.com<mailto:lwebb@grayreed.com;acarson@grayr
eed.com;cpatterson@grayreed.com>

Greta M. Brouphy on behalf of Creditor Get Good Trust
gbrouphy@hellerdraper.com<mailto:gbrouphy@hellerdraper.com>,
dhepting@hellerdraper.com;vgamble@hellerdraper.com<mailto:dhepting@hellerdraper.com;vgamble@hellerdraper.co
m>

Greta M. Brouphy on behalf of Creditor The Dugaboy Investment Trust
gbrouphy@hellerdraper.com<mailto:gbrouphy@hellerdraper.com>,
dhepting@hellerdraper.com;vgamble@hellerdraper.com<mailto:dhepting@hellerdraper.com;vgamble@hellerdraper.co
m>


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M. David Bryant, Jr. on behalf of Interested Party Integrated Financial Associates, Inc.
dbryant@dykema.com<mailto:dbryant@dykema.com>, csmith@dykema.com<mailto:csmith@dykema.com>

Candice Marie Carson on behalf of Interested Party UBS AG London Branch
Candice.Carson@butlersnow.com<mailto:Candice.Carson@butlersnow.com>

Candice Marie Carson on behalf of Interested Party UBS Securities LLC
Candice.Carson@butlersnow.com<mailto:Candice.Carson@butlersnow.com>

Annmarie Antoniette Chiarello on behalf of Creditor Acis Capital Management GP, LLC
achiarello@winstead.com<mailto:achiarello@winstead.com>

Annmarie Antoniette Chiarello on behalf of Creditor Acis Capital Management, L.P.
achiarello@winstead.com<mailto:achiarello@winstead.com>

Shawn M. Christianson on behalf of Creditor Oracle America, Inc.
schristianson@buchalter.com<mailto:schristianson@buchalter.com>,
cmcintire@buchalter.com<mailto:cmcintire@buchalter.com>

James Robertson Clarke on behalf of Interested Party James Dondero
robbie.clarke@bondsellis.com<mailto:robbie.clarke@bondsellis.com>

Matthew A. Clemente on behalf of Creditor Committee Official Committee of Unsecured Creditors
mclemente@sidley.com<mailto:mclemente@sidley.com>, matthew-clemente-
8764@ecf.pacerpro.com;efilingnotice@sidley.com;ebromagen@sidley.com;alyssa.russell@sidley.com;dtwomey@sidley
.com<mailto:matthew-clemente-
8764@ecf.pacerpro.com;efilingnotice@sidley.com;ebromagen@sidley.com;alyssa.russell@sidley.com;dtwomey@sidley
.com>

Matthew A. Clemente on behalf of Interested Party Committee of Unsecured Creditors
mclemente@sidley.com<mailto:mclemente@sidley.com>, matthew-clemente-
8764@ecf.pacerpro.com;efilingnotice@sidley.com;ebromagen@sidley.com;alyssa.russell@sidley.com;dtwomey@sidley
.com<mailto:matthew-clemente-
8764@ecf.pacerpro.com;efilingnotice@sidley.com;ebromagen@sidley.com;alyssa.russell@sidley.com;dtwomey@sidley
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lvargas@spencerfane.com<mailto:lvargas@spencerfane.com>

Andrew Clubok on behalf of Interested Party UBS AG London Branch
andrew.clubok@lw.com<mailto:andrew.clubok@lw.com>

Andrew Clubok on behalf of Interested Party UBS Securities LLC
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Leslie A. Collins on behalf of Creditor Get Good Trust
lcollins@hellerdraper.com<mailto:lcollins@hellerdraper.com>

Leslie A. Collins on behalf of Creditor The Dugaboy Investment Trust
lcollins@hellerdraper.com<mailto:lcollins@hellerdraper.com>


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David Grant Crooks on behalf of Creditor PensionDanmark Pensionsforsikringsaktieselskab
dcrooks@foxrothschild.com<mailto:dcrooks@foxrothschild.com>,
etaylor@foxrothschild.com,jsagui@foxrothschild.com,plabov@foxrothschild.com,jmanfrey@foxrothschild.com<mailto:e
taylor@foxrothschild.com,jsagui@foxrothschild.com,plabov@foxrothschild.com,jmanfrey@foxrothschild.com>

David Grant Crooks on behalf of Creditor Committee Official Committee of Unsecured Creditors
dcrooks@foxrothschild.com<mailto:dcrooks@foxrothschild.com>,
etaylor@foxrothschild.com,jsagui@foxrothschild.com,plabov@foxrothschild.com,jmanfrey@foxrothschild.com<mailto:e
taylor@foxrothschild.com,jsagui@foxrothschild.com,plabov@foxrothschild.com,jmanfrey@foxrothschild.com>

David Grant Crooks on behalf of Debtor Highland Capital Management, L.P.
dcrooks@foxrothschild.com<mailto:dcrooks@foxrothschild.com>,
etaylor@foxrothschild.com,jsagui@foxrothschild.com,plabov@foxrothschild.com,jmanfrey@foxrothschild.com<mailto:e
taylor@foxrothschild.com,jsagui@foxrothschild.com,plabov@foxrothschild.com,jmanfrey@foxrothschild.com>

Gregory V. Demo on behalf of Creditor Committee Official Committee of Unsecured Creditors
gdemo@pszjlaw.com<mailto:gdemo@pszjlaw.com>,
jo'neill@pszjlaw.com;ljones@pszjlaw.com;jfried@pszjlaw.com;ikharasch@pszjlaw.com;jmorris@pszjlaw.com;jpomerant
z@pszjlaw.com;hwinograd@pszjlaw.com;kyee@pszjlaw.com;lsc@pszjlaw.com

Gregory V. Demo on behalf of Debtor Highland Capital Management, L.P.
gdemo@pszjlaw.com<mailto:gdemo@pszjlaw.com>,
jo'neill@pszjlaw.com;ljones@pszjlaw.com;jfried@pszjlaw.com;ikharasch@pszjlaw.com;jmorris@pszjlaw.com;jpomerant
z@pszjlaw.com;hwinograd@pszjlaw.com;kyee@pszjlaw.com;lsc@pszjlaw.com

Casey William Doherty, Jr. on behalf of Interested Party Jefferies LLC
casey.doherty@dentons.com<mailto:casey.doherty@dentons.com>,
dawn.brown@dentons.com;Melinda.sanchez@dentons.com;docket.general.lit.dal@dentons.com<mailto:dawn.brown
@dentons.com;Melinda.sanchez@dentons.com;docket.general.lit.dal@dentons.com>

Douglas S. Draper on behalf of Creditor Get Good Trust
ddraper@hellerdraper.com<mailto:ddraper@hellerdraper.com>,
dhepting@hellerdraper.com;vgamble@hellerdraper.com<mailto:dhepting@hellerdraper.com;vgamble@hellerdraper.co
m>

Douglas S. Draper on behalf of Creditor The Dugaboy Investment Trust
ddraper@hellerdraper.com<mailto:ddraper@hellerdraper.com>,
dhepting@hellerdraper.com;vgamble@hellerdraper.com<mailto:dhepting@hellerdraper.com;vgamble@hellerdraper.co
m>

Lauren Kessler Drawhorn on behalf of Creditor Advisors Equity Group, LLC
lauren.drawhorn@wickphillips.com<mailto:lauren.drawhorn@wickphillips.com>,
samantha.tandy@wickphillips.com<mailto:samantha.tandy@wickphillips.com>

Lauren Kessler Drawhorn on behalf of Creditor Eagle Equity Advisors, LLC
lauren.drawhorn@wickphillips.com<mailto:lauren.drawhorn@wickphillips.com>,
samantha.tandy@wickphillips.com<mailto:samantha.tandy@wickphillips.com>

Lauren Kessler Drawhorn on behalf of Creditor HCRE Partners, LLC (n/k/a NexPoint Real Estate Partners, LLC)
lauren.drawhorn@wickphillips.com<mailto:lauren.drawhorn@wickphillips.com>,
samantha.tandy@wickphillips.com<mailto:samantha.tandy@wickphillips.com>


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Lauren Kessler Drawhorn on behalf of Creditor Highland Capital Management Services, Inc.
lauren.drawhorn@wickphillips.com<mailto:lauren.drawhorn@wickphillips.com>,
samantha.tandy@wickphillips.com<mailto:samantha.tandy@wickphillips.com>

Lauren Kessler Drawhorn on behalf of Creditor NexPoint Real Estate Partners LLC f/k/a HCRE Partners LLC
lauren.drawhorn@wickphillips.com<mailto:lauren.drawhorn@wickphillips.com>,
samantha.tandy@wickphillips.com<mailto:samantha.tandy@wickphillips.com>

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